 Case 3:18-cv-00154-N Document 165 Filed 09/20/18                 Page 1 of 7 PageID 6097



                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

SHANNON DAVES, et al.,                          §
                                                §
       Plaintiffs,                              §
                                                §
v.                                              §           Civil Action No. 3:18-CV-0154-N
                                                §
DALLAS COUNTY, TEXAS, et al.,                   §
                                                §
       Defendants.                              §

                              PRELIMINARY INJUNCTION

       By separate Memorandum Opinion and Order of this same date, the Court has found

and held that (1) Plaintiffs are substantially likely to prevail on the merits of their procedural

due process and equal protection claims, (2) Plaintiffs will suffer irreparable harm if no

preliminary injunction issues, (3) the balance of harms favors the Plaintiffs, and (4) the

public interest favors issuance of a preliminary injunction. It is, therefore, ordered that the

Felony Judges and Misdemeanor Judges (as defined in the Memorandum Opinion) and

Dallas County, Texas (collectively, “Dallas County” or the “County”), together with their

respective officers, agents, attorneys, and employees, and all those acting in active concert

with them with notice of this preliminary injunction, are enjoined as follows:

       1.      Dallas County is enjoined from imposing prescheduled bail amounts as a

               condition of release on arrestees who attest that they cannot afford such

               amounts without providing an adequate process for ensuring there is individual




PRELIMINARY INJUNCTION – PAGE 1
 Case 3:18-cv-00154-N Document 165 Filed 09/20/18             Page 2 of 7 PageID 6098



           consideration for each arrestee of whether another amount or condition

           provides sufficient sureties.

     2.    Pretrial Service staff, as County employees and subject to its policies, must

           verify an arrestee’s ability to pay a secured financial condition of release by

           an affidavit, and must explain to arrestees the nature and significance of the

           verification process.

     3.    The purpose of the explanation is to provide the notice due process requires:

           that a defendant’s state constitutional right to be bailable by sufficient sureties

           is at stake in the proceedings. Pretrial services must deliver completed

           affidavits to the Dallas County Sheriff’s Office before a declarant’s probable

           cause hearing.

     4.    The affidavit must give the arrestee sufficient opportunity to declare under

           penalty of perjury, after the significance of the information has been explained,

           the maximum amount of financial security the arrestee would be able to post

           or pay up front within 24 hours of arrest. The affidavit should ask the arrestee

           to provide details about his or her financial situation sufficient to help the

           County make reliable determinations regarding the amount of bail that would

           provide sufficient sureties, including: 1) arrestee and spouse’s income from

           employment, real property, interest and dividends, gifts, alimony, child

           support, retirement, disability, unemployment payments, public-assistance, and

           other sources; 2) arrestee and spouse’s employment history for the prior two




PRELIMINARY INJUNCTION – PAGE 2
 Case 3:18-cv-00154-N Document 165 Filed 09/20/18            Page 3 of 7 PageID 6099



           years and gross monthly pay; 3) arrestee and spouse’s present cash available

           and any financial institutions where cash is held; 4) assets owned, e.g., real

           estate and motor vehicles; 5) money owed to arrestee and spouse; 6)

           dependents of arrestee and spouse, and their ages; 7) estimation of itemized

           monthly expenses; 8) taxes and legal costs; 9) expected major changes in

           income or expenses; 10) additional information the arrestee wishes to provide

           to help explain the inability to pay. The question is neither the arrestee's

           immediate ability to pay with cash on hand, nor what assets the arrestee could

           eventually produce after a period of pretrial detention. The question is what

           amount the arrestee could reasonably pay within 24 hours of his or her arrest,

           from any source, including the contributions of family and friends.

     5.    The purpose of this requirement is to provide a better, easier, and faster way

           to get the information needed to determine a defendant's ability to pay.

     6.    The affidavit can be completed within 24 hours after arrest.

     7.    The court does not order relief against the Magistrates, the Misdemeanor

           Judges, or the Felony Judges in their judicial or legislative capacities.

     8.    Defendants who are not subject to: (1) formal holds preventing their release

           from detention; (2) pending mental-health evaluations to determine

           competency; or (3) pretrial preventive detention orders for violating a

           condition of release for a crime of family violence, have a constitutionally

           protected state-created liberty interest in being bailable by sufficient sureties




PRELIMINARY INJUNCTION – PAGE 3
 Case 3:18-cv-00154-N Document 165 Filed 09/20/18            Page 4 of 7 PageID 6100



           before trial. If a defendant has executed an affidavit showing an inability to

           pay secured money bail and the Magistrate does not order release either: (1)

           on an unsecured personal bond with nonfinancial conditions of release; or (2)

           on a secured money bond for which the defendant could pay a commercial

           surety's premium, as indicated on the affidavit then the defendant is entitled to

           a hearing within 48 hours of arrest in which an impartial decision-maker

           conducts an individual assessment of whether another amount of bail or

           condition provides sufficient sureties. At the hearing, the arrestee must have

           an opportunity to describe evidence in his or her favor, and to respond to

           evidence described or presented by law enforcement. If the decision-maker

           declines to lower bail from the prescheduled amount to an amount the arrestee

           is able to pay, or impose an alternative condition of release, then the decision-

           maker must provide written factual findings or factual findings on the record

           explaining the reason for the decision, and the County must provide the

           arrestee with a formal adversarial bail review hearing before a Misdemeanor

           or Felony Judge. The Dallas County Sheriff is thus authorized to decline to

           enforce orders requiring payment of prescheduled bail amounts as a condition

           of release for said defendants if the orders are not accompanied by a record

           showing that the required individual assessment was made and an opportunity

           for formal review was provided. All nonfinancial conditions of release




PRELIMINARY INJUNCTION – PAGE 4
 Case 3:18-cv-00154-N Document 165 Filed 09/20/18            Page 5 of 7 PageID 6101



           ordered by the Magistrates, including protective orders, drug testing, alcohol

           intake ignition locks, or GPS monitoring, will remain in effect.

     9.    The purpose of this requirement is to provide timely protection for the

           state-created liberty interest in pretrial release and to prevent the pretrial

           detention of a defendant on a financial condition when that defendant would

           be able to obtain release by paying but is unable to do so. By "promptly," the

           court means on the same time frame of release that a defendant who paid a

           secured money bail would receive being bailable by sufficient sureties and to

           prevent the automatic imposition of prescheduled bail amounts without an

           adequate process for ensuring that there is individualized consideration of

           whether another amount or condition provides sufficient sureties.

     10.   To enforce the 48-hour timeline, the County must make a weekly report to the

           district court of defendants identified above for whom a timely individual

           assessment has not been held. The County must also notify the defendant's

           counsel and/or next of kin of the delay. A pattern of delays might warrant

           further relief from the district court. Because the court recognizes that the

           County might need additional time to comply with this requirement, the

           County may propose a reasonable timeline for doing so.

     11.   The purpose of this requirement is to give timely protection to the state-created

           liberty interest in being bailable by sufficient sureties by enforcing federal

           standards indicating that 48 hours is a reasonable time frame for completing




PRELIMINARY INJUNCTION – PAGE 5
 Case 3:18-cv-00154-N Document 165 Filed 09/20/18                 Page 6 of 7 PageID 6102



              the administrative incidents to arrest. The 48-hour requirement is intended to

              address the endemic problem of arrestees being detained until case disposition

              and pleading guilty to secure faster release from pretrial detention.

       12.    For defendants who are subject to formal holds and who have executed an

              affidavit showing an inability to pay the secured financial condition of release,

              the Sheriff must treat the limitations period on their holds as beginning to run

              the earliest of: (1) after the probable cause hearing; or (2) 24 hours after arrest.

              The purpose of this requirement is to ensure that defendants are not prevented

              from or delayed in addressing their holds because they are indigent and

              therefore cannot pay a secured financial condition of release.

       13.    Defendants who do not appear competent to execute an affidavit may be

              evaluated under the procedures set out in the Texas Code of Criminal

              Procedure Article 16.22. If competence is found, the defendant is covered by

              the relief the court orders, with the exception that the 24-hour period begins to

              run from the finding of competence rather than from the time of arrest. As

              under Article 16.22, nothing in this order prevents the misdemeanor arrestee

              from being released on secured bail or unsecured personal bond pending the

              evaluation.

       Absent further Order of this Court, this preliminary injunction will take effect thirty

(30) days from the date of this order. Pursuant to Federal Rule of Civil Procedure 65(c), the

Court waives the requirement of a bond.




PRELIMINARY INJUNCTION – PAGE 6
 Case 3:18-cv-00154-N Document 165 Filed 09/20/18   Page 7 of 7 PageID 6103



     Signed September 20, 2018.



                                        _________________________________
                                                  David C. Godbey
                                             United States District Judge




PRELIMINARY INJUNCTION – PAGE 7
